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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
    Case No.       CV20-11181-CAS(JPRx)                                               Date   August 23, 2021
    Title          NEMAN BROTHERS AND ASSOCIATES, INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]



    Present: The Honorable         CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Laura Elias                              N/A
                 Deputy Clerk                        Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Chan Jeong                                                  Mark Lee
                                                                                      Zheng Liu
    Proceedings:              ZOOM HEARING:

                              DEFENDANT/COUNTER-CLAIMANT’S MOTION FOR SUMMARY
                              JUDGMENT; AND PARTIAL SUMMARY JUDGMENT ON COUNTERCLAIM
                              (Filed 07/13/21)[35]

                              PLAINTIFF/COUNTER-DEFENDANT’S MOTION FOR SUMMARY
                              JUDGMENT OR ADJUDICATION (Filed 07/26/21)[41]

      Hearing held by Zoom and counsel are present. Tentative order provided. The
Court confers with counsel and counsel argue. The Court orders the following:
C           Further discovery cutoff, specific to the issues relating the above-referenced
            motions: October 25, 2021;
C           Defendants shall file a Supplemental Brief, not to exceed 15 pages in length, no
            later than November 1, 2021;
C           Plaintiff shall file a Reply, not to exceed 15 pages in length, no later than
            November 8, 2021;
C           The hearing is continued to November 22, 2021, at 10:00 A.M.
      The Court further continues the Further Status Conference re: Settlement to
November 22, 2021, at 10:00 A.M., to be heard simultaneously with the above-
referenced motions.
                                                                                             00      :      30

                                                               Initials of Preparer                CMJ


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